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  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10                               WESTERN DIVISION
 11   CRYTEK GMBH,                   )        Case No.: CV 17-8937-DMG (FFMx)
                                     )
 12                      Plaintiff,  )        ORDER GRANTING PARTIES’
                                     )
 13            v.                    )        JOINT STIPULATION OF TRIAL
                                     )        AND RELATED DATES [86]
 14   CLOUD IMPERIUM GAMES CORP. )
      and ROBERTS SPACE INDUSTRIES )
 15   CORP.,                         )
                                     )
 16                      Defendants. )
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                                       ORDER
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  1        Based upon the stipulation of the parties, and for good cause shown,
  2        IT IS HEREBY ORDERED THAT:
  3        1.      The trial date presently set for March 24, 2020 is continued to June 16,
  4 2020; and
  5        2.      The dates related to the trial date, as set in the Court’s March 7, 2019
  6 Schedule of Pretrial & Trial Dates [Doc. # 55-1] are continued to the following dates:
  7
  8                                 MATTER                             COURT ORDERED
                                                                           DATE
  9      Trial                                                           June 16, 2020
 10                                                                         8:30 am
         Final Pretrial Conference (FPTC)                                May 12, 2020
 11
                                                                           2:00 pm
 12      Amended Pleadings and Addition of Parties Cut-Off (includes
         hearing of motions to amend)
 13                                                                           N/A
         Early Mediation Deadline
 14
         Joint Report re Results of Early Mediation                           N/A
 15      Non-Expert Discovery Cut-Off                                     Feb. 4, 2020
 16      (includes hearing of discovery motions)
         Non-Dispositive Motion Cut-Off (filing deadline)                Feb. 21, 2020
 17
         Dispositive Motion Cut-Off (filing deadline)                   March 31, 2020
 18      Initial Expert Disclosure & Report Deadline                      Feb. 4, 2020
 19      Rebuttal Expert Disclosure & Report Deadline                     Mar. 3, 2020
         Expert Discovery Cut-Off (includes hearing of discovery         Apr. 21, 2020
 20      motions)
 21      Second Settlement Conference Completion Date                    Apr. 14, 2020

 22      Motions in Limine Filing Deadline                               Apr. 21, 2020
         Opposition to Motion in Limine Filing Deadline                  Apr. 28, 2020
 23
         Joint Status Report re Settlement                               Apr. 21, 2020
 24      Proposed Pretrial Conference Order                              Apr. 21, 2020
 25      Contentions of Fact/Law                                         Apr. 21, 2020
         Pretrial Exhibit Stipulation                                    Apr. 21, 2020
 26
         Joint Exhibit List                                              Apr. 21, 2020
 27      Witness Lists & Joint Trial Witness Time Estimate Form          Apr. 21, 2020
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                                                ORDER
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  1      Agreed Statement of the Case                                Apr. 21, 2020
  2      Proposed Voir Dire Questions                                Apr. 21, 2020
         Joint Statement of Jury Instructions & Joint Statement of   Apr. 21, 2020
  3      Disputed Instructions
  4      Verdict Forms                                               Apr. 21, 2020

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      DATED: September 16, 2019                 __________________________________
  7                                             DOLLY M. GEE
  8                                             UNITED STATES DISTRICT JUDGE
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                                                ORDER
